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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                                              )
       Plaintiff,                             )
                                              )
               v.                             )       No. 4:20CR98 HEA
                                              )
JERRY DALE LEECH, D.C.,                       )
                                              )
       Defendant.                             )


                                             ORDER

       IT IS HEREBY ORDERED that the sentencing hearing in this matter is set for

November 3, 2021, at 11:30 a.m. and is to take place by Zoom. Hearing participants will receive

a separate email with a link to join the hearing by Zoom. Members of the general public who

wish to listen in to the hearing are directed to call the following number to participate by phone:

1-669-254-5252, Meeting ID: 160 994 6867. Pursuant to Local Rule 13.02, all means of

photographing, recording, broadcasting, and televising are prohibited in any courtroom, and in

areas adjacent to any courtroom, except when authorized by the presiding judge. This includes

proceedings ordered by the Court to be conducted by phone or video.

       Dated this 16th day of July, 2021.


                                              ___________________________________
                                                  HENRY EDWARD AUTREY
                                                UNITED STATES DISTRICT JUDGE
